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AO 106 (Rev, 04/10) Application for a Search Warrant

 

 

 

UNITED STATES DISTRICT COURT
for the NOV 06 2019

Southern District of California

 

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CLERK US DISTE co SE ORNIA

SOUTHERN DISTRICT OF mePUry |

Case No. 1 9 sT ee

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

 

Grey Apple iPhone 7 Plus with Green Phone Case
Unknown IMEI; Seized as FP&F No. 2020250400019801
(Target Device 1}

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A1.

located in the Southern District of California , there is now concealed (identify the

person or describe the property to be seized):

 

See Attachment B. ©

The basis for the search under Fed. R. Crim. P. 41(c) is ¢check one or more):
ow evidence of a crime;
0 contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. Sections 952 & 960 Importation of a Controlled Substance

The application is based on these facts:

See attached affidavit from SA Lawlor

wwf Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: } is requested
under £8 U.S.C. § 3103a, the basis of which is set forth on y attach py

 

 

\_/ Applicant’ ‘s signature

Nicholas Lawlor, Special Agent
Printed name and title

Sworn to before me and signed in my presence.
pate: _ U/GLA AWE Lol A
Judge's signature

City and state: San Diego, California Honorable Allison H. Goddard U.S. Magistrate Judge

Printed name and title

 

 

 
